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Will | Get Out Today?’

Louisiana is keeping people behind bars long after their —

sentences have expired, attorneys say.
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Victoria LawSep 26, 2018

Four days before his scheduled release from a Louisiana prison, Ellis Ray Hicks received a visit
from his aunt. Her phone had recently been cut off and she needed to know what time to pick
him up from the prison.

Hicks asked a lieutenant who, after checking the prison's computer system, returned with
stunning news—Hicks's release date had been moved from January to July. No one in the
visiting room could explain this change.

This meant not only that Hicks was looking at an additional six months in prison, but also that
Hicks's aunt had to postpone her open heart surgery. “She has no caretaker,” Hicks told The

Appeal. “My uncle has cancer, so can’t move around much.” That meant that his aunt, then in
her late 60s, had to wait for her 50-year-old nephew to come home before she could proceed.

After the visit, Hicks contacted the computation officer, or the prison administrator responsible
for calculating his release date. Initially, the officer told him that Louisiana's probation and parole
department had changed his release date. That's also what he told Hicks’s aunt, who called
once she got home. But, says Hicks, that wasn't true. Hicks attempted to get an explanation—if
not a change back to his initial release date—without success. Instead, he was issued four
release dates, none of which were Jan. 8.

“The law is clear,” William Most, Hicks's attorney, told The Appeal. “Once a prisoner's sentence
has expired, the jailor has a reasonable amount of time to process and release him. That
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Illustrations by Ana Galval

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Stas Moroz is a statt attorney at the Orleans Public Defenders office. At Jeast once a week, he
receives an email about someone who is being overdetained. There are a number of reasons .
for a person being held past their release date, he told The Appeal... iinet barigiess:

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One common reason is the lag in ‘communication between the Orleans Parish sheriff's office |
and the state’ Ss Department of Corrections. Ifa person has been sentenced to boc custody, that
person remains in the sheriff's custody while his or her paperwork is delivered to the DOC.
Despite the advent of email and digital systems, local sheriffs and the state prison system do
not have a shared computer system, so physical papers must be driven to the DOC
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ensure that staff has the information and time needed to respond to his of her concerns. "The
DOC declined to comment, citing pending litigation.

But, says Hicks, if an outside attorney had not intervened and helped secure his:release, he
would have sat in prison for another six months. Mcarwiie, his aunt would nave continued to
postpone the surgery she needed. ;

You know you're free. You're supposed to be a free man. Janealy Traweek,
imprisoned 21 days past release date ‘A

In court documents, Most identifies numerous past cases of overdetention. In the 1980s, the
State of Louisiana paid Jerome Robinson over $250,000 for failing to calculate good time into
his prison sentence. Two decades later, in 2003, the state settled a lawsuit for a person who had
been held 1,213.days (or over three\years) past his release date. in 2005, 2007, and 2009, it
made payments to people who were held past their release dates. Most is also the counsel on
two other lawsuits on behalf of men who were overdetained. One spent 41 days imprisoned
past his release date; the other spent nearly two years in state prison.

Prison employees have also acknowledged the frequency of the practice. In the course of a
lawsuit filed by James Chowns who spent 960 days imprisoned past his release date, DOC
employees testified about the consistent overdetention that they observed. One employee
testified that prison staff discovered approximately one case of overdetention per week for the
past nine years. Another DOC employee, who reviewed sentence computations for the
department's assistant secretary, testified that he typically discovered “one or two [people] a
week” who were eligible for immediate release yet remained in custady.’ Scotts S petition was
ultimately denied by the state's Supreme Court.)

Yet despite these acknowledgments, the spate’ of lawsuits and the hefty settlements, Louisiana
prisons and jails continue to hold people past their release dates: That's what happened to
Brian McNeal, who spent 41 extra days in prison. He might have sat there even longer had his
girlfriend not repeatedly called the DOC, the parole office, McNeal's probation officer, and
Moroz, who had been McNeal’s public defender. McNeal has recently filed suit against the
DOC, alleging false imprisonment, negligence, violating his 14th Amendment right to due
process, and violating the state Constitution's due process protections.

if this issue is so widespread, why does this continue to happen? “There is a complete lack of
accountability,” stated Most, who is also representing McNeal. “When the DOC finds out that
someone has been overdetained, their practice is to change their release date to the date they
figure it out, so that it looks like there has been no overdetention. Rarely are there
consequences when someone is overdetained.”

Ken Pastorick, the DOC's spokesperson, disputed Most's allegations, but declined further
comment.
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Illustrations by Ana Anan

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The following week, Moniz, Traweek's, public cdelencier learned that his. clapas was, stil in jail and
that the Orleans Parish sheriff had not sent Traweek's paperwork to the DOC. He emailed the
sheriff's office, which responded, “Johnny Traweek was just sentenced on May 2, 2018, so his
paperwork has not went up yet." This was on May 9, one week past the day a judge had
sentenced Traweek to time served and told him that he would be released that day. .

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“Mr, Arcuri has it exactly backwards,” said Most, “The Fifth Circuit has been very clear: ‘a jailer
has a duty to ensure that inmates are timely released from prison,’ Currently, the sheriff is
holding inmates sentenced to the custody of the DOC for days or weeks, even when he knows
they should be immediately released. If the sheriff's department doesn’t want to be responsible
for DOC inmates’ release dates, he should hand them over to the DOC shortly after
sentencing.”

Moroz said Arcuti's claims are not borne out in practice. He notes that, in the past year alone,
the Orleans Public Defenders office has had had multiple clients sentenced to periods of
incarceration that they had already served on the day they had been sentenced. “It is common
for an individual who is sentenced to receive ‘credit for time served’ in parish jail (meaning that
individual is sentenced to serve the amount of jail time that he or she has already completed)
during a morning court session to sit in jail until the next day while OPSO [the sheriff's office]
processes their releases,” he wrote in an email.

But, if the person is sentenced to time served in state prison, the delays can stretch for days, if
not weeks, while waiting for the sheriff's office to fulfill its responsibility of driving paperwork to
the Department of Corrections.

“Both the Orleans Parish Sheriff's Office (OPSO) and the Department of Corrections (‘DOC’)
have a responsibility to ensure that people in their custody are there /awfully,” Moroz wrote,

Meanwhile, keeping people past their release dates have impacted their lives—and the lives of
their families. “Speaking for the [five] men | represent,” Washington said, “it sounds really
bureaucratic when you talk about paperwork and time calculations, but for my clients it's their
lives. It might be days, weeks or months, but these are days, weeks or months that they're not
with their families, they're not able to work or provide for their families. You're sentenced to a set
amount of time. When that time is up, you should be able to return to your family and to society.”

Hicks went home on April 25, nearly four months past his initial release date, The following
week, he took his aunt to the hospital for her long-awaited surgery. He is now caring for her as
she recovers.

Others, however, have not been as fortunate. “In the time they were overdetained, my clients
have missed their children’s graduation. The birth of their grandchildren. Birthdays. The death of
parents. A wife's stroke,” Most said. “They couldn't be there for their loved ones in good times
and hard times. Even after they are released, there is no going back. And that weighs on them."

Incarceration Jail Louisiana New Orleans Orleans Parish Sheriff's Office Orleans Public
Defenders Prison Sentencing

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Louisiana To Build New Prison For Women Displaced By 2016 Storm
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(Rey, 8/3/15)
Case Number:

TO BE COMPLETED BY THE INSTITUTION OF INCARCERATION OR
DETENTION

Icertify that (prisoner/detainee name and number)

 

has the current sum of $ on account to his credit at

 

(name of institution). I further certify that during the past six months the applicant’s average
balance was $ and that the applicant’s average monthly deposits were
$ . [have attached a certified copy of the applicant’s prison trust fund account
showing at least the past six months’ transactions.

I further certify that the applicant does | * i] does not have a secondary

savings account(s), such as a certificate of deposit or savings bond. The secondary account(s)

 

 

 

 

balance, if any, is $

 

(Date)

 

(Signature of Authorized Officer)

 

(Printed Name of Authorized Officer)

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(Rev. 8/9/15)

Case Number:
CERTIFICATE
\ [ request that an authorized officer of the institution in which | am confined, or other designated
entity, complete the below financial certificate. I understand that:
(1) ifl commence a petition for Writ of Habeas Corpus in federal court pursuant to 28 U.S.C. §2254
or 28 U.S.C. §2241, the filing fee is $5.00, and such fee will have to be paid by me.
(2) if] file a civil action with this court (such as an action pursuant to 42 U.S.C. §1983) the filing
fee is $400.00, and, that:

(a) if my current account balance at the institution is $400.00 or more, I will not qualify for
in forma pauperis status and I must pay the full filing fee of $400.00 before I will be

allowed to proceed with the action;

(b) if my current account balance at the institution is $400.00 or less and 1 ama prisoner and
not an ICE detainee, that before the action will be served on the defendants, | will be
required to pay 20 percent of my average monthly balance, or the average monthly
deposits to my account, whichever is greater. Thereafter ] must pay installments of 20
percent of the preceding month’s deposits to my account in months that my account
balance exceeds $10.00, and I hereby authorize the institution where I am confined to
make such deductions. I must continue to make installment payments until the $350.00
($400.00 minus a $50.00 administrative fee) filing fee is fully paid, without regard to
whether my action is closed or my release from confinement;

(c) if my current account balance at the institution is $400.00 or less and | am an ICE
detainee granted IFP status, I will not pay any of the $400.00 filing fee in a civil matter
and will only pay $5.00 in a habeas matter. If 1 am an ICE detainee and I am denied IFP
status, I must pay the full $400.00 filing fee.

(3) 1 further state that I have not directly or indirectly paid or caused to be paid to any inmate,
agent of an inmate, or family member of any inmate a sum of money, favors or anything else for
assistance in the preparation of this document or any other document in connection with this
action.

(4) iflam located ina prison participating in the Electronic Filing Pilot Project, | consent to receive

orders, notices and judgments by Notice of Electronic Filing.

 

(Date) (Printed Name of Applicant) (Signature & Prison Number of Applicant)

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